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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Charlotte Brent−Bell
                                    Plaintiff,
v.                                                     Case No.: 1:17−cv−01099
                                                       Honorable Joan B. Gottschall
The City of Chicago, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 29, 2019:


       MINUTE entry before the Honorable Jeffrey T. Gilbert: The parties have
confirmed that all necessary participants are available for the settlement conference set for
9/12/19 at 1:30 p.m. Accordingly, the settlement conference will proceed on that date in
accordance with Magistrate Judge Gilbert's Standing Order for Settlement Conference.
The status hearing set for 8/8/19 at 9:45 a.m. will proceed as scheduled. Mailed
notice(ber, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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